   Case 1:01-cv-12257-PBS Document 6528-102 Filed 09/22/09 Page 1 of 5




                             Exhibit 101



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
        Case 1:01-cv-12257-PBS Document 6528-102 Filed 09/22/09 Page 2 of 5

Duggan, Ph.D., Mark G. - Vol. II                                        May 3, 2009
                                 Washington, DC

                                                                            Page 240
                   UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MASSACHUSETTS

    - - - - - - - - - - - - - - -

    IN RE:    PHARMACEUTICAL       )    MDL NO. 1456

    INDUSTRY AVERAGE WHOLESALE     )    CIVIL ACTION

    PRICE LITIGATION               )    01-CV-12257-PBS

                                   )

    THIS DOCUMENT RELATES TO       )

    U.S. ex rel. Ven-a-Care of     )    Judge Patti B. Saris

    the Florida Keys, Inc.         )

         v.                        )    Chief Magistrate

    Abbott Laboratories, Inc.,     )    Judge Marianne B.

    No. 06-CV-11337-PBS            )    Bowler

    - - - - - - - - - - - - - - -



        Videotaped deposition of MARK G. DUGGAN, PH.D.

                            Volume II



                               Washington, D.C.

                               Tuesday, May 19, 2009

                               9:30 a.m.




                    Henderson Legal Services, Inc.
202-220-4158                                      www.hendersonlegalservices.com

                                                                  55243b38-09c2-4172-9b82-b49a74344d24
             Case 1:01-cv-12257-PBS Document 6528-102 Filed 09/22/09 Page 3 of 5

Duggan, Ph.D., Mark G. - Vol. II                                                                     May 3, 2009
                                           Washington, DC
                                              Page 241                                                        Page 243
 1       Continued videotaped deposition of MARK G.          1          A P P E A R A N C E S (Cont'd)
 2   DUGGAN, PH.D., held at the law offices of Jones Day,    2
 3   51 Louisiana Avenue, N.W., Washington, D.C. 20001,      3       ALSO PRESENT:
 4   the proceedings being recorded stenographically by      4         CONWAY BARKER, videographer
 5   Jonathan Wonnell, a Registered Professional Court       5
 6   Reporter and Notary Public of the District of           6
 7   Columbia, and transcribed under his direction.          7
 8                                                           8
 9                                                           9
10                                                          10
11                                                          11
12                                                          12
13                                                          13
14                                                          14
15                                                          15
16                                                          16
17                                                          17
18                                                          18
19                                                          19
20                                                          20
21                                                          21
22                                                          22
                                              Page 242                                                        Page 244
 1      APPEARANCES OF COUNSEL                               1                CONTENTS
 2                                                           2
 3       On behalf of the United States of America:          3   WITNESS NAME                                    PAGE
 4         GEJAA T. GOBENA, ESQ.                             4   MARK G. DUGGAN, PH.D.
 5         U.S. Department of Justice                        5     By Mr. Torborg............................ 248
 6         Civil Division                                    6
 7         P.O. Box 261, Ben Franklin Station                7
 8         Washington, D.C. 20044                            8              EXHIBITS
 9         (202) 305-9300                                    9   NUMBER                  DESCRIPTION PAGE
10         gejaa.gobena@usdoj.gov                           10   Exhibit Duggan Rebuttal 001 - Handwritten notes
11         justin.draycott@usdoj.gov                        11                    by Dr. Duggan.... 272
12                                                          12   Exhibit Duggan Rebuttal 002 - Rebuttal expert
13       On behalf of Abbott Laboratories:                  13                    report of Mark G.
14         DAVID TORBORG, ESQ.                              14                    Duggan, Ph.D..... 291
15         TARA M. STUCKEY, ESQ.                            15   Exhibit Duggan Rebuttal 003 - Expert report of
16         Jones Day                                        16                    James W. Hughes.. 314
17         51 Louisiana Avenue, N.W.                        17   Exhibit Duggan Rebuttal 004 - Expert report of
18         Washington, D.C. 20001-2113                      18                    James W. Hughes.. 325
19         (202) 879-3939                                   19   Exhibit Duggan Rebuttal 005 - Excerpts from the
20         dstorborg@jonesday.com                           20                    deposition of
21         tmstuckey@jonesday.com                           21                    Thomas A. Scully
22                                                          22                    dated 5/15/07.... 332
                                                                                      2 (Pages 241 to 244)
                          Henderson Legal Services, Inc.
202-220-4158                                                     www.hendersonlegalservices.com

                                                                                               55243b38-09c2-4172-9b82-b49a74344d24
            Case 1:01-cv-12257-PBS Document 6528-102 Filed 09/22/09 Page 4 of 5

Duggan, Ph.D., Mark G. - Vol. II                                                             May 3, 2009
                                         Washington, DC
                                            Page 341                                                 Page 343
 1          MR. TORBORG: We've only been going for 1         unaware for the entire relevant time period that
 2   about a half hour. Do you want to go for another    2   AWP did not constitute a selling price and WAC did
 3   ten minutes?                                        3   not include discounts and rebates?
 4          THE WITNESS: Yeah. Another ten               4      A. As I mentioned earlier today, the
 5   minutes. I just see it over there and it's          5   knowledge of government officials was not an area
 6   inviting. I appreciate it.                          6   that I focus on for my analysis.
 7   BY MR. TORBORG:                                     7      Q. Let me ask you this. Does your
 8       Q. If you would go to paragraph 40 of Dr.       8   difference calculation consider what state and
 9   Hughes' report. Dr. Hughes wrote "First, as is      9   federal officials understood contemporaneously
10   the case with Medicare, Dr. Duggan's damage        10   about the relationship between AWP, WAC and actual
11   estimates for Medicaid are tainted by reliance on  11   prices in the marketplace?
12   a but-for world that is at odds with the record in 12           MR. GOBENA: Objection to form.
13   this matter. For Medicaid Dr. Duggan's but-for     13           THE WITNESS: Can you repeat the
14   world relies on the following assumptions."        14   question?
15          Now I'm going to paraphrase these to        15      Q. I can read it back.
16   move along. The first is that your analysis        16      A. Okay.
17   assumes the state and federal officials were       17      Q. Does your difference calculation
18   unaware of basically the difference between AWP, 18     consider what state and federal officials
19   WAC and marketplace prices. The second is it       19   understood contemporaneously about the
20   assumes that had officials been aware of these     20   relationship between AWP, WAC and actual prices in
21   pricing realities they would not only have changed 21   the marketplace?
22   reimbursement policy immediately but they would 22              MR. GOBENA: Same objection.
                                            Page 342                                                 Page 344
 1   have also based Medicaid reimbursement on his       1       A. As I said, that's really not -- there
 2   calculation of average acquisition cost.            2   were many state and federal officials employed at
 3          Third is it assumes in the but-for world     3   the agencies during this time period. And it has
 4   dispensing fees would not increase. And fourth,     4   not been a focus of what I set out to do or what
 5   it assumes that all states are the same and they    5   I've done.
 6   would respond in the same way to challenges and     6       Q. In your rebuttal report do you address
 7   obstacles.                                          7   the criticism that Dr. Hughes makes that your
 8          Did I fairly paraphrase those?               8   difference calculation assumes that had officials
 9       A. Sure.                                        9   been aware of these pricing realities they would
10       Q. Now, in your rebuttal report you tackle     10   not only have changed reimbursement policy
11   the issue that is classified under the third       11   immediately but also that they would have based
12   category, right? "Third, Dr. Duggan assumes in     12   Medicaid reimbursement on its calculation of
13   the but-for world that dispensing fees would not   13   average acquisition cost?
14   increase." That's something that your rebuttal     14       A. My analysis examines how Medicaid
15   report addresses, correct?                         15   spending would have changed if transaction-based
16       A. It discusses the issue of ingredient        16   AWPs had been used holding other factors constant.
17   cost changes in states' methodologies and the      17   So had Abbott reported more accurately its prices
18   relationship if anything with dispensing fee       18   for vancomycin and the other products at issue in
19   changes.                                           19   this case to First Databank in some cases, Red
20       Q. Does your rebuttal report address the       20   Book in other cases, state governments in other
21   criticism Dr. Hughes makes that your analysis      21   cases, and those values been utilized in
22   assumes the state and federal officials were       22   adjudication methodologies, my analysis determines
                                                                             27 (Pages 341 to 344)
                         Henderson Legal Services, Inc.
202-220-4158                                                 www.hendersonlegalservices.com

                                                                                       55243b38-09c2-4172-9b82-b49a74344d24
            Case 1:01-cv-12257-PBS Document 6528-102 Filed 09/22/09 Page 5 of 5

Duggan, Ph.D., Mark G. - Vol. II                                                             May 3, 2009
                                        Washington, DC
                                           Page 345                                                  Page 347
 1   how spending would have changed.                    1   akin to the prices you calculate in calculating
 2           And so my analysis calculates how --        2   ingredient reimbursements, correct?
 3   this is sort of, once again, touching on this       3       A. It to some extent addresses it in that
 4   knowledge of government officials issue. And it's 4     it discusses the events that followed the change
 5   really -- that just wasn't the focus of my          5   in AWPs that's apparent from figure 1 and figure 2
 6   analysis.                                           6   for Abbott products and that's summarized
 7       Q. Is it your understanding that what Dr.       7   elsewhere in the report and that were later used -
 8   Hughes is saying there -- just to try to            8   - and then one can see the decline in Medicaid
 9   paraphrase just to move along -- is that he's       9   spending that followed that.
10   saying that your difference calculation assumption 10       Q. Can you show me where in your report you
11   that states would have used much lower prices in 11     address this question, in your rebuttal report?
12   calculating ingredient prices if they were         12       A. Well, in an indirect way I am addressing
13   available?                                         13   it when I discuss the change to Abbott's AWPs that
14       A. It assumes that state agencies would        14   happened in 2001. And it is apparent from -- it's
15   have used the AWPs when adjudicating the claims, 15     my own table 11. There was a sharp decline in
16   the alternative AWPs.                              16   Medicaid spending that followed that. So I
17       Q. And I think we covered this at length in    17   address it tangentially, but not head-on, perhaps.
18   your prior deposition so I don't want to belabor   18          THE WITNESS: Is this --
19   it here. But you've agreed that whether states     19          MR. TORBORG: Why don't we take a lunch
20   would have used much lower prices in adjudicating 20    break.
21   ingredient cost reimbursements is an assumption in 21          THE WITNESS: Okay. Great.
22   your report, correct?                              22          THE VIDEOGRAPHER: Off the record at
                                           Page 346                                                  Page 348
 1      A. My analyses assume that the alternative       1 12:37.
 2   AWPs that I calculate from Abbott's data would      2          (Whereupon, at 12:37 p.m. a lunch
 3   have been used by state Medicaid programs in        3 recess was taken.)
 4   adjudicating the claims. That is correct. In        4
 5   some cases, however, they would not have been --    5
 6   they would have been overwritten by things like     6
 7   usual and customary, for example. So --             7
 8      Q. And have you done anything more in your       8
 9   work on this case to consider or test the           9
10   assumption that states would have used much lower 10
11   prices in calculating ingredient reimbursements?   11
12          THE WITNESS: Can you read that back?        12
13             (Whereupon, the requested portion        13
14   was read by the reporter.)                         14
15      A. That is an -- so I -- since receiving        15
16   this report I have not examined this issue         16
17   further. However, I examined it, considered it to  17
18   some extent earlier in my earlier report.          18
19   BY MR. TORBORG:                                    19
20      Q. Okay. You would agree with me that your 20
21   rebuttal report doesn't address the issue of       21
22   whether or not states would have used lower prices 22
                                                                             28 (Pages 345 to 348)
                         Henderson Legal Services, Inc.
202-220-4158                                                 www.hendersonlegalservices.com

                                                                                       55243b38-09c2-4172-9b82-b49a74344d24
